    Case 2:18-cv-00470-HCN Document 54 Filed 07/23/18 PageID.514 Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                                       DISTRICT OF UTAH


DIANE LARSEN, Individually and as                  ORDER GRANTING HONDA NORTH
Personal Representative of the Estate of JESSE     AMERICA, INC.’S AND PLAINTIFFS’
LABRUM, et al.,                                    STIPULATION AND JOINT MOTION TO
                                                   AMEND TO SUBSTITUTE AMERICAN
          Plaintiffs,                              HONDA MOTOR CO., INC. FOR HONDA
                                                   NORTH AMERICA, INC.
vs.

BLUE BIRD CORPORATION, et al.,                     Case No: 2:18-cv-00470-DB

          Defendants.                              Judge: Dee Benson

                                                   Magistrate Judge: Brooke C. Wells



          Having considered Honda North America, Inc.’s and Plaintiffs’ Stipulation and Joint

Motion to Amend to Substitute American Honda Motor Co., Inc. for Honda North America, Inc.

(“Motion”), 1 and for good cause appearing,

          IT IS HEREBY ORDERED that the Motion is GRANTED. American Honda Motor Co.,

Inc. shall be substituted in this case for Honda North America, Inc. Based upon this substitution,

Honda North America, Inc. is hereby dismissed without prejudice.



            DATED this 23 July 2018.




                                               Brooke C. Wells
                                               United States Magistrate Judge


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    ECF No. 49.
